                Case 19-50237-btb        Doc 17     Entered 03/20/19 22:02:06        Page 1 of 3
                                      United States Bankruptcy Court
                                           District of Nevada
In re:                                                                                 Case No. 19-50237-btb
MEGAN MARIE KLEIN                                                                      Chapter 7
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0978-3          User: storylm                Page 1 of 2                   Date Rcvd: Mar 18, 2019
                              Form ID: odeter              Total Noticed: 61


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 20, 2019.
db             +MEGAN MARIE KLEIN,     4257 COMBS CANYON RD,     CARSON CITY, NV 89703-9469
10720871       +ARS Account Resolutions,     1643 Harrison Pkwy Ste. 100,     Fort Lauderdale, FL 33323-2857
10720872       +ATG Credit LLC,    P.O. Box 14895,     Chicago, IL 60614-8542
10720869       +Ad Astra Recovery Services,     7330 W. 33rd St.N. #118,     Wichita, KS 67205-9370
10720870       +Alpine Women Health,     645 N Arlington Ave,    Reno, NV 89503-4460
10720873       +Axos Bank AKA BofI USA Bank,     4350 La Jolla Village Drive, Suite 140,
                 San Diego, CA 92122-1244
10720875       +Best Service Company,     6700 S. Centinela,    Culver City, CA 90230-6304
10720879       +Career Education Corp,     231 N. Martingale Road,    Schaumburg, IL 60173-2007
10720880       +CashCo,    1567 Vassar St,    Reno, NV 89502-2719
10720881       +Centralcash.com,    6785 Bobcat Way #200,     Dublin, OH 43016-1443
10720883       +Check Into Cash,    9046 Sepulveda Blvd,     North Hills, CA 91343-4308
10720884       +Collection Service of Nevada,     777 Forest St,    Reno, NV 89509-1711
10720888       +EMS, Inc.,    P.O. Box 707601,    Tulsa, OK 74170-7601
10720893       +First Premier Bank,     601 S Minnesota Ave,    Sioux Falls, SD 57104-4868
10720894       +First Premier Bank,     Attn: Bankruptcy,    Po Box 5524,    Sioux Falls, SD 57117-5524
10720895       +GSO,    P.O. Box 1907,    San Ramon, CA 94583-6907
10720898       +InBox Loan,    PO Box 881,    Santa Rosa, CA 95402-0881
10720899       +Line of Credit Now,     PO Box 959,    Wood Dale, IL 60191-0959
10720900        Maverick Finance,    C/o Security Finance,     Spartanburg, SC 29304
10720902       +MidAmerica Bank & Trust Company,      5109 S Broadband Lane,    Sioux Falls, SD 57108-2208
10720903       +MidAmerica Bank & Trust Company,      Attn: Bankruptcy,    216 West Second St,
                 Dixon, MO 65459-8048
10720909       +Plains Commerce Bank,     Po Box 7,    Hoven, SD 57450-0007
10720910        Rapid Cash,    3760 Gaines St.,     Indian Wells, CA 92210
10720911       +Reno Radiologial Associates CHTD,      P.O. Box 3215,   Indianapolis, IN 46206-3215
10720912       +Santander Consumer USA,     Po Box 961245,    Fort Worth, TX 76161-0244
10720913       +Santander Consumer USA,     Attn: Bankruptcy,    Po Box 961245,    Fort Worth, TX 76161-0244
10720915       +Sun Loan #246,    413 Keystone Ave,     Reno, NV 89503-4302
10720919       +TD Bank/Northland Group,     P.O. Box 673,    Minneapolis, MN 55440-0673
10720921       +US Deptartment of Education/Great Lakes,      Po Box 7860,    Madison, WI 53707-7860
10720922       +US Deptartment of Education/Great Lakes,      Attn: Bankruptcy,    Po Box 7860,
                 Madison, WI 53707-7860
10720923        USAA,    10750 McDermott Fwy,    San Antonio, TX 78288-0509
10720924       +Washington State Bank,     134 Main Street,,    Columbus Junction, IA 52738-1028
10720925       +Wells Fargo,    301 W. Northern Lights Blvd.,     Ste. 100,    Anchorage, AK 99503-2655
10720927       +Wells Fargo Bank Aut,     Attn: Bankruptcy Dept,    Po Box 6429,    Greenville, SC 29606-6429
10720926       +Wells Fargo Bank Aut,     Po Box 29704,    Phoenix, AZ 85038-9704

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
10720874       +E-mail/Text: defaultspecialty.us@bbva.com Mar 19 2019 02:54:48        BBVA Compass Bank,
                 15 South 20th St., Daniel Building,     Birmingham, AL 35233-2000
10720876       +E-mail/Text: bpcsbk@gmail.com Mar 19 2019 02:55:10       Business & Professional Coll Svc,
                 816 S Center St,    Reno, NV 89501-2306
10720877       +E-mail/Text: bpcsbk@gmail.com Mar 19 2019 02:55:10       Business & Professional Coll Svc,
                 Attn: Bnkruptcy,    Po Box 872,   Reno, NV 89504-0872
10720878       +E-mail/PDF: AIS.cocard.ebn@americaninfosource.com Mar 19 2019 03:01:10        Capital One,
                 1680 Capital One Drive,    Mc Lean, VA 22102-3407
10720882       +E-mail/Text: compliance@chaserec.com Mar 19 2019 02:55:12       Chase Receivables,
                 1247 Broadway,    Sonoma, CA 95476-7503
10720885       +E-mail/Text: bankruptcy@credencerm.com Mar 19 2019 02:55:07        Credence,
                 17000 Dallas Pkwy 75248,    Dallas, TX 75248-1940
10720886       +E-mail/PDF: creditonebknotifications@resurgent.com Mar 19 2019 03:01:15        Credit One Bank,
                 Po Box 98872,    Las Vegas, NV 89193-8872
10720887       +E-mail/PDF: creditonebknotifications@resurgent.com Mar 19 2019 03:01:38        Credit One Bank,
                 Attn: Bankruptcy Department,    Po Box 98873,    Las Vegas, NV 89193-8873
10720889       +E-mail/Text: bknotice@ercbpo.com Mar 19 2019 02:54:50       ERC/Enhanced Recovery Corp,
                 8014 Bayberry Rd,    Jacksonville, FL 32256-7412
10720890       +E-mail/Text: bknotice@ercbpo.com Mar 19 2019 02:54:51       ERC/Enhanced Recovery Corp,
                 Attn: Bankruptcy,    8014 Bayberry Road,    Jacksonville, FL 32256-7412
10720892       +E-mail/Text: bnc-bluestem@quantum3group.com Mar 19 2019 02:55:05        Fingerhut,
                 Attn: Bankruptcy,    Po Box 1250,   Saint Cloud, MN 56395-1250
10720891       +E-mail/Text: bnc-bluestem@quantum3group.com Mar 19 2019 02:55:05        Fingerhut,
                 6250 Ridgewood Road,    Saint Cloud, MN 56303-0820
10720897       +E-mail/Text: bpcsbk@gmail.com Mar 19 2019 02:55:10       Hospital Collection Sv,
                 Attn: Bankruptcy,    816 S Center St,    Reno, NV 89501-2306
10720896       +E-mail/Text: bpcsbk@gmail.com Mar 19 2019 02:55:10       Hospital Collection Sv,
                 816 S Center St,    Reno, NV 89501-2306
10720904       +E-mail/Text: bankruptcydpt@mcmcg.com Mar 19 2019 02:54:47       Midland Credit Management,
                 2365 Northside Drive #300,    San Diego, CA 92108-2709
10720905       +E-mail/Text: bankruptcy@sccompanies.com Mar 19 2019 02:55:16        Montgomery Ward,
                 P.O. Box 2843,    Monroe, WI 53566-8043
10720906       +E-mail/Text: admin@rosebudlending.com Mar 19 2019 02:55:10       My Quick Wallet,    P.O, Box 1146,
                 Mission, SD 57555-1146
                     Case 19-50237-btb             Doc 17       Entered 03/20/19 22:02:06                Page 2 of 3



District/off: 0978-3                  User: storylm                      Page 2 of 2                          Date Rcvd: Mar 18, 2019
                                      Form ID: odeter                    Total Noticed: 61


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
10720908       +E-mail/Text: brprocessor@pfccollects.com Mar 19 2019 02:55:09        PFC,
                 5754 W 11th St. Ste. 100,    Greeley, CO 80634-4811
10721076       +E-mail/PDF: PRA_BK2_CASE_UPDATE@portfoliorecovery.com Mar 19 2019 03:01:07
                 PRA Receivables Management, LLC,     PO Box 41021,   Norfolk, VA 23541-1021
10720907       +E-mail/Text: jmhogle@investmentserv.com Mar 19 2019 02:54:39       Pay Check Advance,
                 1987 N Carson St Ste 45,    Carson City, NV 89701-1225
10720901        E-mail/Text: bankruptcy.noticing@security-finance.com Mar 19 2019 02:54:34        Maverick Finance,
                 C/O Security Finance,    Po Box 811,    Sparatnburg, SC 29304
10720914        E-mail/Text: bankruptcy@sccompanies.com Mar 19 2019 02:54:31       Stoneberry,    P.O. Box 2820,
                 Monroe, WI 53566-8020
10720917       +E-mail/PDF: gecsedi@recoverycorp.com Mar 19 2019 03:01:31       Synchrony Bank/Care Credit,
                 Attn: Bankruptcy Dept,     Po Box 965060,    Orlando, FL 32896-5060
10720916       +E-mail/PDF: gecsedi@recoverycorp.com Mar 19 2019 03:01:31       Synchrony Bank/Care Credit,
                 C/o Po Box 965036,    Orlando, FL 32896-0001
10720918        E-mail/PDF: ais.tmobile.ebn@americaninfosource.com Mar 19 2019 03:01:07        T-Mobile,
                 P.O. Box 629025,   El Dorado Hills, CA 95762
10720920       +E-mail/Text: bnc@alltran.com Mar 19 2019 02:54:34       United Recovery Systems, LP,
                 5800 North Course Drive,    Houston, TX 77072-1613
                                                                                               TOTAL: 26

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr*              +PRA RECEIVABLES MANAGEMENT, LLC,   PO BOX 41021,   NORFOLK, VA 23541-1021
                                                                                                                    TOTALS: 0, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 20, 2019                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 18, 2019 at the address(es) listed below:
              NICHOLAS M. WAJDA   on behalf of Debtor MEGAN MARIE KLEIN nick@wajdalawgroup.com,
               r47098@notify.bestcase.com
              U.S. TRUSTEE - RN - 7   USTPRegion17.RE.ECF@usdoj.gov
              W. DONALD GIESEKE   wdg@renotrustee.com, dgieseke@ecf.axosfs.com
                                                                                            TOTAL: 3
                Case 19-50237-btb           Doc 17      Entered 03/20/19 22:02:06              Page 3 of 3
NVB 521 (Rev. 4/16)


                                UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEVADA


 IN RE:                                                            BK−19−50237−btb
                                                                   CHAPTER 7
 MEGAN MARIE KLEIN
    fka MEGAN MARIE REDICAN
    fka MEGAN MARIE FOLCHI
                                                                   ORDER REGARDING
                                                                   AUTOMATIC DISMISSAL UNDER
                                      Debtor(s)                    11 U.S.C. SECTION 521(i)




The Court has reviewed the file in this case and has determined that the debtor (see note below) has complied with
the information filing requirement of 11 U.S.C. Section 521(a)(1) and LR 4002.1. Accordingly,

IT IS ORDERED:

   1.     This case is not subject to automatic dismissal under 11 U.S.C. Section 521(i)(1) or (2).

   2.     If any party in interest has any reason to contest the Court's finding that this case is not subject to
          automatic dismissal under 11 U.S.C. Section 521(i), that party shall:

          (a)   File a Motion for Reconsideration not later than 10 days from the date of the entry of this order.
                The motion should specifically identify the information and document(s) required by 11 U.S.C.
                Section 521(a)(1) that the debtor has failed to file.

          (b)   Comply with the provisions of LR 9014 and obtain a hearing date and time.

          (c)   Serve such motion and notice of hearing on the trustee, debtor and debtor's counsel, if any.

          (d)   File a Certificate of Service of the motion and notice of hearing within two business days of filing
                the motion.




Dated: 3/18/19


                                                               Mary A. Schott
                                                               Clerk of Court
